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                                                                                  ELECTRONICALLY FILED
                                                                                      1/24/2018 3:55 PM
                                                                                    43-CV-2018-900049.00
                                                                                     CIRCUIT COURT OF
                                                                                  LEE COUNTY,ALABAMA
                                                                                 MARY B. ROBERSON,CLERK

      IN THE CIRCUIT COURT OF LEE COUNTY,ALABAMA

IDA MELTON,
         Plaintiff
                                                         CV- 2018-
     V.

KROGER,A Corporation,                                   TRIAL BY JURY IS DEMANDED
               Defendant.



                                            COMPLAINT

           COMES NOW the Plaintiff, Ida Melton, by and through her attorney of record, Larry G.

Cooper, hereby files this complaint against the Defendant Kroger, a corporation, unknown entity

by and through its authorized agents, employees, and servant hereinafter inclusively

state as follows:


                                     COUNT I- NEGLIGENCE

1.        That the Plaintiff over the age of nineteen and a legal resident of Lee County, Alabama

2.        That the Plaintiff believes that the Defendant Kroger is a business entity of unknown form,
          that is registered and doing business in Opelika, Lee County, Alabama at the time of this
          injury.

3.        That jurisdiction and venue are proper with this Court in that the injuries sustained by the
          Plaintiff occurred in Lee County, Alabama and the Defendant's operation of business is
          located in Opelika, Lee County, Alabama.

4.        That on or about January 26, 2016, the Defendant owned, managed, operated, maintained
          and controlled, both directly and indirectly, through its agents, servants, and employees, a
          certain grocery store known as Kroger, located at 2460 Enterprise Drive Opelika, Alabama
          36801.

5.        That on or before January 26, 2016 the Defendant invited the general public, including the
          Plaintiff, to enter for shopping for the purpose of buying groceries and/or other items.

6.        That while shopping in the store on January 26, 2016,the Defendant tripped and fell over a
          floor electrical plug or outlet or other electrical device embedded in the floor or some



                                                                            EXHIBIT "A"
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,




           unknown substance at the time on the floor, of the isle where items were located on shelves
           for sale, causing the Defendant t trip and fall onto the floor causing physical injury to her
           left knee, body, hips and/or legs etc. Plaintiff was caused to suffer a physical injury and
           was well as pain and suffering and mental anguish. Plaintiff had to seek long term medical
           treatment for said injuries that resulted in surgeries.

    7.     That at the above date and place the Plaintiff, Ms. Ida Melton, was lawfully on the subject
           premises, Tiger Town Kroger in Opelika, Lee County, Alabama inside the store.

    8.       That, disregarding its stated duty, Defendant, by its agents, employees and servants,
    committed the following acts and omissions:

    a) Failed to provide a good, safe, and proper place for the Plaintiff to be, use, occupy and shop
    while on the subject premises;
    b) Allowed and permitted the subject premises to become and remain in dangerous condition;
    c) Failed to inspect the premises to be certain that they were in good, safe, and proper condition;
    d) Failed to warm the plaintiff and others of the unsafe, defective and dangerous condition of the
    subject premises;
    e) Failed to safeguard its customers by maintaining equipment and/or floor space in an unsafe
    location;
    f) failed to warn customers of obstacles in the isles or hallways;
    g)failed to warn customers of protruding parts of equipment located in customer isles or hallways.

    9.         That as a direct and proximate result of one or more of these negligent acts of
    omissions of the Defendant, individually and by and through its agents, servants, and employees,
    the plaintiff was caused to fall.

    10.         That as a direct and proximate result of this fall, the plaintiff has suffered severe,
    extensive, and permanent injury, both internally and externally, and was and will continue to be
    hindered in attending to usual duties and affairs, and has lost and will in the future lose her usual
    quality of life due to her injuries. As a result of those injuries the Plaintiff has become liable for
    large sums of medical bills and will have to expend or will become reliable for additional medical
    bills in the future.

    11.        That as a direct and proximate result of this fall, the Plaintiff has suffered loss of her
    valuable time and her income has been used to help provide transportation and medical care and
    prescriptions for her care in this matter and a result of the Defendants negligence.

    12.    As a proximate result of the Defendant's said negligence or wantonness the Plaintiff was
           caused to suffer the following injuries and damages:

    A.     As a proximate result of the Defendant's said conduct, the Plaintiff suffered physical
           injuries and was made sick, sore and lame;

    B.     Plaintiff as a proximate result of the Defendant's said conduct was caused to incur medical
           expenses for medicine and physician's fees. Further, Plaintiff will be caused to continue to
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                                             DOCUMENT 2




        incur such expenses in the future.

C.      Plaintiff suffered pain and suffering from the said injuries caused by the Defendant;

D.      Plaintiff has incurred the loss of physical activities, sports, and other opportunities;

E.      Plaintiff, as approximate result of the Defendant's said conduct was caused to lose wages
        or income due to missed time from work while at the hospital and various doctor's
        appointments. Further, Plaintiff may continue in the future to be caused to lose wages (or
        income);

F.      Plaintiff suffered mental anguish and/or emotional distress from the said injuries caused by
        the Defendant.

        WHEREFORE,Plaintiff seeks the court to award to her such compensatory and punitive
damages as the Trier of the fact may determine to be just and proper under the facts and
circumstances of this case and to assess costs against the Defendants herein. Plaintiff alleges that
such amount will satisfy the jurisdictional amount of this court, together with interest and costs of
this suit and within the laws of the State of Alabama.



STATE OF ALABAMA              )
                              )
LEE COUNTY                    )


SWORN TO AND SUBSCRIBED BEFORE ME,and Respectfully submitted on this the 24th day
of January 2018.


Is/Ida Melton
Ida Melton, Plaintiff

/s/ Larry G. Cooper
Larry G. Cooper
Notary Public, State at Large
My commission expires: May 23, 2018



               Plaintiff demands trial by struck jury of issues in this case.
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                               DOCUMENT 2




/s/ Larrv G. Cooper
Larry G. Cooper(COO-048)
Cooper & Cooper, LLC
Attorney for Plaintiff
P. O. Box 1868
Auburn, AL 36831-1868
334-502-0022
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State of Alabama                                                                                    Court Case Number
                                                    SUMMONS
Unified Judicial System
                                                                                                    43-CV-2018-900049.00
Form C-34 Rev. 4/2017                                - CIVIL -

                                   IN THE CIRCUIT COURT OF LEE COUNTY, ALABAMA
                                               IDA MELTON V. KROGERS
  NOTICE TO:       KROGERS, 2460 ENTERPRISE DR, OPELIKA, AL 36801
                                                            (Name and Address of Defendant)
  THE COMPLAINT OR OTHER DOCUMENT WHICH IS ATTACHED TO THIS SUMMONS IS IMPORTANT, AND YOU MUST
  TAKE IMMEDIATE ACTION TO PROTECT YOUR RIGHTS. YOU OR YOUR ATTORNEY ARE REQUIRED TO FILE THE
  ORIGINAL OF YOUR WRITTEN ANSWER, EITHER ADMITTING OR DENYING EACH ALLEGATION IN THE COMPLAINT OR
  OTHER DOCUMENT, WITH THE CLERK OF THIS COURT. A COPY OF YOUR ANSWER MUST BE MAILED OR HAND
  DELIVERED BY YOU OR YOUR ATTORNEY TO THE PLAINTIFF(S) OR ATTORNEY(S)OF THE PLAINTIFF(S),
  LARRY GEORGE COOPER JR
                                                        IName(s) of Attorney(s)]

  WHOSE ADDRESS(ES) IS/ARE:650 NORTH COLLEGE STREET, SUITE 100, AUBURN, AL 36030                                                      •
                                                                      lAddress(es) of Plaintiff(s) or Attorney(s)]
  THE ANSWER MUST BE MAILED OR DELIVERED WITHIN 30 DAYS AFTER THIS SUMMONS AND COMPLAINT OR
  OTHER DOCUMENT WERE SERVED ON YOU OR A JUDGMENT BY DEFAULT MAY BE RENDERED AGAINST YOU FOR
  THE MONEY OR OTHER THINGS DEMANDED IN THE COMPLAINT OR OTHER DOCUMENT.
               TO ANY SHERIFF OR ANY PERSON AUTHORIZED BY THE ALABAMA RULES OF CIVIL
                                           PROCEDURE TO SERVE PROCESS:
      You are hereby commanded to serve this Summons and a copy of the Complaint or other document in
      this action upon the above-named Defendant.
  ly] Service by certified mail of this Summons is initiated upon the written request of IDA MELTON
      pursuant to the Alabama Rules of the Civil Procedure.                                        IName(s).1

           1/24/2018 3:55:29 PM                           /s/ MARY B. ROBERSON                 By:
                    (Date)                                              (Signature of Clerk)                               (Name)

  iy1 Certified Mail is hereby requested.                      /s/ LARRY GEORGE COOPER JR
                                                               (Plaintiff's/Attorney's Signature)


                                                    RETURN ON SERVICE
  L Return receipt of certified mail received in this office on
                                                                                                        (Date)
  El   l certify that l personally delivered a copy of this Summons and Complaint or other document to
                                                                in                                                              County,
                     (Name of Person Served)                                                   (Name of County)

  Alabama on
                                  (Date)
                                                                                                    (Address of Server)
  (Type of Process Server)                     (Server's Signature)


                                               (Server's Printed Name)                              (Phone Number of Server)
